13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 1 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 2 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 3 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 4 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 5 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 6 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 7 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 8 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 9 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 10 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 11 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 12 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 13 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 14 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 15 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 16 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 17 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 18 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 19 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 20 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 21 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 22 of 23
13-53846-tjt   Doc 5358-9   Filed 06/17/14   Entered 06/17/14 17:06:43   Page 23 of 23
